                              IN THE UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF TENNESSEE
                                       NASHVILLE DIVISION


                                              )
  EUDELL S. DUVALL, Derivatively On           )
  Behalf of BIOMIMETIC                        )
  THERAPEUTICS INC.,                          )
                                                Civil Action No. 3:11-cv-00775
                                              )
                 Plaintiff,                   )
                                                CLASS ACTION
                                              )
          v.                                  )
                                                Judge Kevin H. Sharp
                                              )
  SAMUEL E. LYNCH, et al.                       Magistrate Juliet E. Griffin
                                              )
                 Defendants,                  )
                                              )
                 and                          )
                                              )
  BIOMIMETIC THERAPEUTICS, INC.,              )
                                              )
                 Nominal Defendant.           )
                                              )

               AGREED ORDER OF DISMISSAL WITHOUT PREJUDICE

       On this day came to be considered the Joint Motion to Dismiss Without Prejudice filed

by Plaintiff Eudell S. Duvall and Defendants Samuel E. Lynch, Larry W. Papasan, Thorkil K.

Christensen, Christopher B. Ehrlich, Gary E. Friedlaender, Charles W. Federico, James Murphy,

and Douglas G. Watson and Nominal Defendant BioMimetic Therapeutics, Inc. The Court,

having considered the merits of said Motion, finds that said Motion is well taken and is

GRANTED. Accordingly:

          i.   The above-captioned action shall be dismissed without prejudice;

         ii.   Each party shall bear its own costs, expenses, and attorneys’ fees; and

        iii.   Any notice required by Federal Rule of Civil Procedure 23.1(c) is satisfied by

               Wright Medical Group, Inc.’s actual notice of said Motion.




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It is so ORDERED.

Dated: 0D\
                                   _____________________________________
                                   KEVIN H. SHARP
                                   United States District Judge




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AGREED TO AND APPROVED
FOR ENTRY BY:


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